               Case 16-21874              Doc 151          Filed 07/05/22 Entered 07/05/22 16:34:33                                 Desc Main
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Fill in this information to identify the case:

Debtor 1        Pamela Kent

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: Western District of Tennessee___
                                                                (State)
Case number 16-21874

Form 4100R
Response to Notice of Final Cure Payment                                                                                                          10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

 Part 1:         Mortgage Information
Name of creditor:        U.S. Bank Trust National Association, not in its individual capacity but solely as trustee           Court claim no. (if known):
                         for LB-Igloo Series IV Trust.
                                                                                                                              13-2



Last 4 digits of any number you use to identify the debtor's account: 8145

Property Address: 6501 Valley Oak Dr
                         Number              Street

                         Memphis, TN 38141
                         City                           State             Zip Code




 Part 2:         Prepetition Default Payments
Check one:
       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
       the creditor’s claim.
       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
                                                                                                                                          $
       of this response is:


 Part 3:         Postpetition Mortgage Payment
Check one:
       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor(s) is due on:
                                                                                     MM/ DD /YYYY
       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       Creditor asserts that the total amount remaining unpaid as of the date of this response is:
       a.     Total postpetition ongoing payments due: 03/01/22-06/01/22 4@985.90                                             (a)   $ _3,943.60____
       b.     Total fees, charges, expenses, escrow, and cost outstanding:                                                  + (b)   $ ____________
       c.     Total. Add lines a and b.                                                                                       (c)   $ _3,943.60____
       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became
       due on:                                                                         _03/_01_/ 2022__                Less Suspense -937.92

                                                                                         MM/ DD /YYYY                    Total Due=3,005.68




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Debtor 1            Pamela Kent                                                          Case Number (if known)         16-21874
                    First Name          Middle Name                        Last Name




 Part 4:     Itemized Payment History
If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:

all payments received; 
 all fees, costs, escrow, and expenses assessed to the mortgage; and 
 all amounts the creditor contends remain unpaid.


 Part 5:     Sign Here
The person completing this response must sign it. The response must be filed as a supplement to the creditor's
proof of claim.
Check the appropriate box:

     I am the creditor.
     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


                      /s/ Anne Marie Throne                                                              Date 07/05/2022
                      Signature

Print:                Anne Marie Throne,                               Bar No. TNBPR 036224             Title     Bankruptcy Attorney
                      First name      Middle Name     Last name

Company               MCMICHAEL TAYLOR GRAY, LLC

If different from the notice address listed on the proof of claim to which this response applies:

Address               3550 Engineering Drive, Suite 260
                      Number               Street

                      Peachtree Corners, GA 30092
                      City                 State      Zip Code

Contact phone         404-474-7149                                Email:    athrone@mtglaw.com




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                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing in the above captioned case was this

day served upon the below named persons by either United States Mail or Electronic Mail at the addresses

shown below:

Via U.S. Mail
Pamela Kent
6501 Valley Oak Dr.
Memphis, TN 38141


Via CM/ECF electronic service:
Jimmy E. McElroy
Jimmy E. McElroy, Attorney at Law
3780 S. Mendenhall
Memphis, TN 38115

Sylvia F Brown
200 Jefferson Ave. Suite #1113
Memphis, TN 38103

Dated: July 5, 2022

                                                      Respectfully submitted,

                                                      By: /s/ Anne Marie Throne
                                                      Anne Marie Throne
                                                      TNBPR 036224

                                                      MCMICHAEL TAYLOR GRAY, LLC
                                                      Attorney for Creditor
                                                      3550 Engineering Drive, Suite 260
                                                      Peachtree Corners, GA 30092
                                                      Telephone: 404-474-7149
                                                      Facsimile: 404-745-8121
                                                      E-mail: athrone@mtglaw.com
                                                      MTG File No.: 21-001392-02




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                                                                                                                                                      PAYMENT CHANGES
                                                                                                                          DATE           P&I                Escrow                TOTAL                  Reference
                                                                                                                        03/01/16        619.80              346.71                966.51
                                                                                                                        02/01/17        619.80              350.54                970.34
                                                                                                                        03/01/18        619.80              348.35                968.15
                                                                                                                        03/01/19        619.80              349.86                969.66
                                                                                                                        03/01/20        619.80              358.28                978.08
Loan#                                                                                                                   03/01/21        619.80              337.54                957.34
Borrower:                             Nevills                                                                           03/01/22        619.80              366.10                985.90          NOPC filed with the court
Date Filed:                         2/24/2016                                                                                                                0.00
BK Case #                           16-21874                                                                                                                 0.00

First Post Petition Due Date:        3/1/2016                                                                                                                0.00
POC covers:                   02/01/2016 - 04/01/2016
MOD EFFECTIVE DATE:
             Date                 Amount Recvd          Payment Type   Post Petition Due Date   Contractual Due Date   Amount Due    Over/Shortage      Suspense Credit        Suspense Debit           Susp Balance
Beginning Suspense Balance                                                                                                                    $0.00                                                                    $0.00
                    6/23/2016        $1,694.00              Post              5/1/16                  2/1/16               $966.51          $727.49                  $727.49                                         $727.49
                    7/22/2016         $847.00               Post              6/1/16                  3/1/16               $966.51         -$119.51                                     $119.51                      $607.98
                    8/16/2016        $1,325.04              Post              7/1/16                  4/1/16               $966.51          $358.53                  $358.53                                         $966.51
                                                            Post              8/1/16                  5/1/16               $966.51         -$966.51                                     $966.51                        $0.00
                     9/14/2016       $966.51                Post              9/1/16                  6/1/16               $966.51            $0.00                                                                    $0.00
                    10/17/2016       $966.51                Post              10/1/16                 7/1/16               $966.51            $0.00                                                                    $0.00
                    10/17/2016                              Pre                                                                               $0.00                                                                    $0.00
                    11/16/2016       $966.51                Post              11/1/16                 8/1/16               $966.51            $0.00                                                                    $0.00
                    11/16/2016                              Pre                                                                               $0.00                                                                    $0.00
                    12/15/2016       $966.51                Post              12/1/16                 9/1/16               $966.51            $0.00                                                                    $0.00
                     1/19/2017       $966.51                Post              1/1/17                  10/1/16              $966.51            $0.00                                                                    $0.00
                     2/16/2017       $970.34                Post              2/1/17                  11/1/16              $970.34            $0.00                                                                    $0.00
                     3/16/2017       $970.34                Post              3/1/17                  12/1/16              $970.34            $0.00                                                                    $0.00
                     3/16/2017                              Pre                                                                               $0.00                                                                    $0.00
                     4/17/2017       $970.34                Post              4/1/17                  1/1/17               $970.34            $0.00                                                                    $0.00
                     5/18/2017       $970.34                Post              5/1/17                  2/1/17               $970.34            $0.00                                                                    $0.00
                     5/18/2017                              Pre                                                                               $0.00                                                                    $0.00
                     6/16/2017       $970.34                Post              6/1/17                  3/1/17               $970.34            $0.00                                                                    $0.00
                     6/16/2017                              Pre                                                                               $0.00                                                                    $0.00
                     7/18/2017       $970.34                Post              7/1/17                  4/1/17               $970.34            $0.00                                                                    $0.00
                     7/18/2017                              Pre                                                                               $0.00                                                                    $0.00
                     8/17/2017       $970.34                Post              8/1/17                  5/1/17               $970.34            $0.00                                                                    $0.00
                     9/14/2017       $970.34                Post              9/1/17                  6/1/17               $970.34            $0.00                                                                    $0.00
                     9/14/2017                              Pre                                                                               $0.00                                                                    $0.00
                    10/16/2017       $970.34                Post              10/1/17                 7/1/17               $970.34            $0.00                                                                    $0.00
                    10/16/2017                              Pre                                                                               $0.00                                                                    $0.00
                    11/14/2017       $970.34                Post              11/1/17                 8/1/17               $970.34            $0.00                                                                    $0.00
                                                                                                                                              $0.00                                                                    $0.00
                    11/14/2017                              Pre                                                                               $0.00                                                                    $0.00
                    12/14/2017       $970.34                Post              12/1/17                 9/1/17               $970.34            $0.00                                                                    $0.00
                    12/14/2017                              Pre                                                                               $0.00                                                                    $0.00
                     1/17/2018       $970.34                Post              1/1/18                  10/1/17              $970.34            $0.00                                                                    $0.00
                     1/17/2018                              Pre                                       11/1/17                                 $0.00                                                                    $0.00
                     2/14/2018       $970.34                Post              2/1/18                  12/1/17              $970.34            $0.00                                                                    $0.00
                     2/14/2018                              Pre                                                                               $0.00                                                                    $0.00
                     3/16/2018       $968.15                Post              3/1/18                  1/1/18               $968.15            $0.00                                                                    $0.00
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 3/16/2018                    Pre                                                   $0.00                  $0.00
 4/16/2018   $968.15          Post         4/1/18            2/1/18      $968.15    $0.00                  $0.00
 4/16/2018                    Pre                                                   $0.00                  $0.00
 5/14/2018   $968.15          Post         5/1/18            3/1/18      $968.15    $0.00                  $0.00
 5/14/2018                    Pre                                                   $0.00                  $0.00
 6/14/2018   $968.15          Post         6/1/18            4/1/18      $968.15    $0.00                  $0.00
 6/14/2018                    Pre                                                   $0.00                  $0.00
 7/16/2018   $968.15          Post         7/1/18            5/1/18      $968.15    $0.00                  $0.00
 7/16/2018                    Pre                                                   $0.00                  $0.00
 8/14/2018   $968.15          Post         8/1/18            6/1/18      $968.15    $0.00                  $0.00
 8/14/2018                    Pre                                                   $0.00                  $0.00
 9/17/2018   $968.15          Post        9/1/18             7/1/18      $968.15    $0.00                  $0.00
10/15/2018   $968.15          Post        10/1/18            8/1/18      $968.15    $0.00                  $0.00
10/15/2018                    Pre                                                   $0.00                  $0.00
11/16/2018   $968.15          Post        11/1/18            9/1/18      $968.15    $0.00                  $0.00
11/16/2018                    Pre                                                   $0.00                  $0.00
12/13/2018   $968.15          Post        12/1/18           10/1/18      $968.15    $0.00                  $0.00
12/13/2018                    Pre                                                   $0.00                  $0.00
 1/15/2019   $968.15          Post         1/1/19           11/1/18      $968.15    $0.00                  $0.00
 1/15/2019                    Pre                                                   $0.00                  $0.00
 2/13/2019   $968.15          Post         2/1/19           12/1/18      $968.15    $0.00                  $0.00
 2/13/2019                    Pre                                                   $0.00                  $0.00
 3/29/2019   $969.66          Post         3/1/19            1/1/19      $969.66    $0.00                  $0.00
 3/29/2019                    Pre                                                   $0.00                  $0.00
 4/16/2019   $969.66          Post         4/1/19            2/1/19      $969.66    $0.00                  $0.00
 4/16/2019                    Pre                                                   $0.00                  $0.00
 5/15/2019   $969.66          Post         5/1/19            3/1/19      $969.66    $0.00                  $0.00
 5/15/2019                    Pre                                                   $0.00                  $0.00
 6/17/2019   $969.66          Post         6/1/19            4/1/19      $969.66    $0.00                  $0.00
 6/17/2019                    Pre                            5/1/19                 $0.00                  $0.00
 7/15/2019   $969.66          Post         7/1/19            6/1/19      $969.66    $0.00                  $0.00
 7/15/2019                    Pre                                                   $0.00                  $0.00
 8/14/2019   $969.66          Post         8/1/19            7/1/19      $969.66    $0.00                  $0.00
 8/14/2019                    Pre                                                   $0.00                  $0.00
 9/17/2019   $969.66          Post         9/1/19            8/1/19      $969.66    $0.00                  $0.00
 9/17/2019                    Pre                                                   $0.00                  $0.00
10/16/2019   $969.66          Post        10/1/19            9/1/19      $969.66    $0.00                  $0.00
10/16/2019                    Pre                                                   $0.00                  $0.00
 12/3/2019   $969.66          Post        11/1/19           10/1/19      $969.66    $0.00                  $0.00
 12/3/2019                    Pre                                                   $0.00                  $0.00
12/20/2019   $969.66          Post        12/1/19           11/1/19      $969.66    $0.00                  $0.00
12/20/2019                    Pre                                                   $0.00                  $0.00
 1/14/2020   $969.66          Post         1/1/20           12/1/19      $969.66    $0.00                  $0.00
 1/14/2020                    Pre                                                   $0.00                  $0.00
 2/14/2020   $969.66          Post         2/1/20            1/1/20      $969.66    $0.00                  $0.00
 2/14/2020                    Pre                                                   $0.00                  $0.00
 3/13/2020   $978.08          Post         3/1/20            2/1/20      $978.08    $0.00                  $0.00
 3/13/2020                    Pre                                                   $0.00                  $0.00
 4/16/2020   $978.08          Post         4/1/20            3/1/20      $978.08    $0.00                  $0.00
 4/16/2020                    Pre                                                   $0.00                  $0.00
  6/4/2020   $978.08          Post         5/1/20            4/1/20      $978.08    $0.00                  $0.00
  6/4/2020                    Pre                                                   $0.00                  $0.00
 6/24/2020   $978.08          Post         6/1/20            5/1/20      $978.08    $0.00                  $0.00
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 6/24/2020                      Pre                                                     $0.00                              $0.00
 7/17/2020   $978.08            Post         7/1/20            6/1/20      $978.08      $0.00                              $0.00
 7/17/2020                      Pre                            7/1/20                   $0.00                              $0.00
 9/16/2020   $1,956.16          Post         8/1/20            8/1/20      $978.08    $978.08      $978.08              $978.08
                                Post         9/1/20            9/1/20      $978.08   -$978.08                $978.08       $0.00
 9/16/2020                      Pre                                                     $0.00                              $0.00
 2/17/2021    $978.08           Post        10/1/20           10/1/20      $978.08      $0.00                              $0.00
 3/15/2021    $978.08           Post        11/1/20           11/1/20      $978.08      $0.00                              $0.00
 4/16/2021   $1,914.68          Post        12/1/20           12/1/20      $978.08    $936.60      $936.60              $936.60
                                                                                        $0.00                           $936.60
 5/14/2021    $957.34           Post        1/1/21            1/1/21       $978.08    -$20.74                 $20.74    $915.86
 6/17/2021    $957.34           Post        2/1/21            2/1/21       $978.08    -$20.74                 $20.74    $895.12
 7/23/2021    $957.34           Post        3/1/21            3/1/21       $957.34      $0.00                           $895.12
 8/16/2021    $957.34           Post        4/1/21            4/1/21       $957.34      $0.00                           $895.12
 9/16/2021    $957.34           Post        5/1/21            5/1/21       $957.34      $0.00                           $895.12
10/13/2021    $957.34           Post        6/1/21            6/1/21       $957.34      $0.00                           $895.12
11/16/2021    $957.34           Post        7/1/21            7/1/21       $957.34      $0.00                           $895.12
 1/18/2022    $957.34           Post        8/1/21            8/1/21       $957.34      $0.00                           $895.12
  3/4/2022    $957.34           Post        9/1/21            9/1/21       $957.34      $0.00                           $895.12
 3/21/2022    $965.90           Post        10/1/21           10/1/21      $957.34      $8.56        $8.56              $903.68
 4/14/2022   $1,931.80          Post        11/1/21           11/1/21      $957.34    $974.46      $974.46             $1,878.14
                                Post        12/1/21           12/1/21      $957.34   -$957.34                $957.34    $920.80
 5/19/2022   $965.90            Post        1/1/22            1/1/22       $957.34      $8.56        $8.56              $929.36
 6/16/2022   $965.90            Post        2/1/22            2/1/22       $957.34      $8.56        $8.56              $937.92
                                                                                        $0.00                           $937.92
                                                                                        $0.00                           $937.92
 POST DUE                                    3/1/22                        $985.90   -$985.90                           $937.92
                                             4/1/22                        $985.90   -$985.90                           $937.92
                                             5/1/22                        $985.90   -$985.90                           $937.92
                                             6/1/22                        $985.90   -$985.90                           $937.92
                                             7/1/22                        $985.90   -$985.90                           $937.92
